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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

 

RYAN MALLARD,
Plaintiff,

Vv. CIVIL ACTION

NO. 17-12422-wGY
ANDREW SAUL,

Commissioner of the Social

Security Administration

Defendant.

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YOUNG, D.J. December 10, 2019

MEMORANDUM OF DECISION

This is an appeal of the final decision of the Commissioner
of the Social Security Administration (the “Commissioner” )
denying an application for Social Security disability insurance
benefits. Plaintiff Ryan Mallard (“Mallard”) appeals the denial
on the grounds that it is not supported by substantial evidence
under the Social Security Act, 42 U.S.C. § 405(g). Compl., ECF
No. 1; Mem. Supp. Pl.’s Mot. Reverse Commissioner’s Decision
(“Pl.’s Mem.”) 5, ECF No. 22.

Pending before this Court are Mallard’s motion to reverse
and the Commissioner’s motion to affirm the Commissioner's final
decision. Pl.’s Mot. Reverse Commissioner’s Decision (“Pl.’s

Mot.”), ECF No. 21; Def.’s Mot. Affirm Decision Commissioner
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(“Def.’s Mot.”), ECF No. 24; Mem. Supp. Def.’s Mot. Affirm
Commissioner’s Decision (“Def.’s Mem.”), ECF No. 25. For the
reasons stated below, this Court DENIED the Commissioner’s
motion to affirm the decision and remanded the case for further
proceedings. Order, ECF No. 30.
I. INTRODUCTION

Mallard argues that the Social Security hearing officer’s
decision denying his application for benefits, which the Appeals
Council’s denial of review made final, see Administrative R.,
Notice Appeals Council Action 1, ECF No. 19-2, is not supported
by substantial evidence. Pl.’s Mem. 5. Mallard argues that the
hearing officer failed (1) to consider important evidence of
Mallard’s mental health conditions; (2) to accord proper weight
to the opinion of his treating physician, instead giving
improper weight to his non-treating physicians; (3) to consider
Mallard’s own testimony; (4) to consider evidence regarding
challenges associated with commuting; and (5) fully to consider
the vocational expert’s testimony. Id. at 7-11.

A. Procedural History

On July 6, 2016, Mallard applied for Social Security
disability insurance benefits, alleging that he became disabled
on July 23, 2015. Administrative R., Ex. 2, Documents
Administrative Process, ALJ Hearing Decision (“Hearing

Decision”) 1, ECF No. 19-2; see also Administrative R., Ex. 1D,

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Application Summary Disability Insurance Benefits (“Application
Summary”) 1, ECF No. 19-5. The Social Security hearing officer
initially denied Mallard’s application on August 30, 2016, and
then again upon reconsideration on December 6, 2016. Hearing
Decision 1. On Mallard’s request for a hearing, the hearing
officer subsequently held a video hearing pursuant to section
404.936(c) of title 20 of Code of Federal Regulations on June 1,
2017. Id. Mallard, represented by counsel Robert L. Noa,
appeared and testified at the hearing. Id.; Administrative R.,
Tr. Oral Hr’g 3, ECF No. 19-2. Michael Laraia, a vocational
expert, also testified at the hearing. Hearing Decision 1; Tr.
Oral Hr’g 3-4.

On August 21, 2017, the hearing officer denied Mallard’s
claim for disability insurance benefits at step five of the
sequential evaluation process, finding that Mallard retained the
residual functional capacity (“RFC”) to perform jobs that exist
in significant numbers in the national economy. Hearing
Decision 17-18. On October 3, 2017, the Appeals Council denied
Mallard’s request for review, AC Denial 1, rendering that
decision final and ripe for judicial review, see 42 U.S.C. §

405(g).

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On December 8, 2017, Mallard filed a complaint with this
Court against Nancy A. Berryhill,! Acting Commissioner of the
Social Security Administration. Compl. On May 8, 2018, after a
hearing, this Court denied the Commissioner’s motion to dismiss
for failure to state a claim. Electronic Clerk’s Notes, ECF No.
15; Def.’s Mot. Dismiss, ECF No. 9.

On June 17, 2019, Mallard moved for an order reversing the
Commissioner’s decision. ECF No. 21. On July 29, 2019, the
Commissioner moved to affirm the Commissioner’s decision. ECF
No. 24. This Court heard oral argument on these motions on
September 24, 2019 and remanded the case for further
proceedings. Electronic Clerk’s Notes, ECF No. 29; Order, ECF

No. 30. This opinion explains that decision.

B. Factual Background
1. Education and Occupational History
Mallard was born on March 5, 1979 and was 36 years old on
July 23, 2015, the alleged onset date of his disability.
Hearing Decision 16; see also Application Summary 1. He

attended some of high school but did not complete his high

 

1 Andrew Saul is now the Commissioner of Social Security and
is automatically substituted as a party under rule 25(d) of the
Federal Rules of Civil Procedure. See Fed. R. Civ. P. 25(d)
(“The officer’s successor is automatically substituted as a

party.”).

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school education. Administrative R., Ex. 7F, Office Treatment
Records 3, ECF No. 19-9.

Mallard has previously worked as a security guard and as a
sign installer. Hearing Decision 16; see also Administrative
R., Ex. 1A, Disability Determination Explanation DIB 14, ECF No.
19-3. As a security officer at Shaw’s, Mallard sat in the
office, checked the identification documents of incoming
customers, and monitored cameras. Tr. Oral Hr’g 7. He also
walked around the building to do random checks. Id.

Mallard worked for Intersection Media for seven years as a
sign installer, where he carried a bundle of signs, went to
places as instructed, and installed the signs. Id. at 7-9. He
also worked as a sign installer for Sign Design, Inc., where he
did a lot of lifting and climbing with a ladder to install
signs. Id. at 11. He installed all types of signs, including
signs up to 100 pounds. Id. Mallard worked as a sign installer
through late July 2015. Id. at 11-12.

2. Physical Impairment

On July 23, 2015, Mallard suffered an injury to his low
back while he was working. Administrative R., Ex. 2F, Inpatient
Hospital Records (“Inpatient Hospital Records”) 5, ECF No. 19-7.
Mallard was carrying sign templates through a door when the
templates hit the top of the door frame and caused his body to

twist into a painful posture. Id.

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Since this injury, Mallard has not engaged in any
substantial gainful activity. Hearing Decision 3; see also
Application Summary 1. Mallard has received constant treatment
for his ongoing lower back pain since the accident. Hearing
Decision 6-7. He was treated with Percocet, Administrative R.,
Ex. 1F, Hospital Records 17, ECF No. 19-7, Meloxicam,
Administrative R., Ex. 6F, Office Treatment Records 10, ECF No.
19-9, Oxycodone, id. at 11, and Ibuprofen, Administrative R.,

Ex. 4F, Office Treatment Records 2, ECF No. 19-8.

Mallard also suffered right hip fracture in a motor vehicle
accident. Hearing Decision 3; Administrative R., Ex. 3F,
Progress Notes (“Progress Notes”) 2, ECF No. 19-7. On December
18, 2015, Mallard received treatment for the right hip fracture
at Brigham and Women’s Hospital. Id. He was discharged on
December 20, 2015. Id. at l. Mallard has a history of an
abdominal gunshot wound that happened around 2005. Hearing
Decision 3.

3. Mental Impairment

Since his gunshot wound around 2005, Mallard has suffered a
series of mental illnesses, including posttraumatic stress
disorder, depression, and bipolar. Ex. TF, Office Treatment
Records 1, ECF No. 19-9. Since July 23, 2015, Mallard’s mental
health deteriorated, and his bipolar disorder, depression,

anxiety, and posttraumatic stress disorder became exacerbated.

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Id. at 1, 5. The following is a summary of the records
pertaining to the medical treatment, medication management, and
hospitalization related to Mallard’s deteriorating mental health
conditions.
a) Hospitalization

Mallard was hospitalized and admitted to Arbour Hospital on
November 17, 2015 because of severe depression and suicidal
ideation. Inpatient Hospital Records 5. Mallard reported
having bipolar disorder, posttraumatic stress disorder, anxiety,
and depression. Id. The hospital record noted that “Mr.
Mallard presented with a mixed state of both depression with
suicidal ideation and pressured hyperverbal elevated statements
about himself.” Id. at 6. With treatment, Mallard reported an
improvement in his mood and denied suicidal ideation. Hearing

Decision 7.

b) Medication Management by Crystal White
From May 2016 to April 2017, Crystal White, a nurse
practitioner at South Shore Mental Health, managed Mallard’s
medications. Id. at 9-14. Psychiatric evaluation notes from
Crystal White document, inter alia, that Mallard suffered
symptoms of paranoia, both visual and auditory hallucinations,
depression, anxiety and posttraumatic stress disorder, Ex. 27F,

Office Treatment Records 28-29, ECF No. 19-15, and that he

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isolated himself and experienced decreased ability to feel
pleasure, id. at 47.
c) Treatment by Dr. Daniels

From October 2015 to May 2017, Dr. David Daniels (“Dr.
Daniels”) at South Shore Mental Health provided regular
psychiatric care for Mallard. See Hearing Decision 7-14. Dr.
Daniels noted that Mallard reported difficulty with memory and
concentration, and that he presented with symptoms including
agitation and startle reactions, Ex. 7F, Office Treatment
Records 4, ECF No. 19-9, auditory hallucinations, and ongoing
panic attacks and nightmares, Administrative R., Ex. 30F,
Progress Notes 5, ECF No. 19-16. Dr. Daniels diagnosed Mallard
with bipolar disorder and posttraumatic stress disorder. Ex.
7F, Office Treatment Records 5. Dr. Daniels reported that
Mallard’s symptoms interfered with his ability to concentrate,
interact with others, and cope with stress. Ex. 7F, Office
Treatment Records 26. Dr. Daniels also concluded that Mallard’s
impairments affected his ability to work and that he expected
them to last six to twelve months. Administrative R., Ex. 18F,
Outpatient Hospital Records 12, ECF No. 19-10.

da) Evaluation by Dr. Warren

On August 29, 2016, Dr. John Warren (“Dr. Warren”), an

advising psychologist to the Disability Determination Services,

on initial consideration of Mallard’s application, conducted a

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medical assessment of Mallard based only on the paper record.
Disability Determination Explanation DIB 2-6; see Social
Security Handbook § 115.1,
https: //www.ssa.gov/OP_ Home/handbook/handbook.html (last visited
November 14, 2019). This record contained, among other things,
hospitalization records and the medical opinions from Dr.
Daniels and other physicians. Disability Determination
Explanation DIB 2-6. Dr. Warren assessed that Mallard would
sustain moderate restriction in maintaining social functioning
and concentration or persistence. Id. at 13. Dr. Warren
concluded that Mallard, despite the above-mentioned
restrictions, could perform simple tasks over a routine workday
or week with acceptable attention, persistence, and pace, and
could sustain the basic demands related to work by supervisors
and co-workers. Id. at 13-14. Dr. Warren assessed that Mallard
could adapt to routine workplace changes, remain aware of
hazards, form basic plans, and travel independently. Id. at 13.
Nonetheless, Dr. Warren assessed that Mallard would be unable to
interact appropriately with the general public. Id.
e) Evaluation by Dr. Diaz

On December 2, 2016, Dr. Sandra Diaz (“Dr. Diaz”), an
advising psychologist to the Disability Determination Services,
on reconsideration of Mallard’s application, assessed Mallard’s

mental health conditions. Administrative R., Ex. 3A, Disability

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Determination Explanation 15-17, ECF No. 19-3; see Social
Security Handbook § 115.3,
https: //www.ssa.gov/OP_Home/handbook/handbook.html (last visited
November 14, 2019). Dr. Diaz, by making evaluations based on
the evidence of record that she received, agreed with Dr.
Warren’s assessment. Ex. 3A, Disability Determination
Explanation 2-9, 17. Dr. Diaz determined, among other things,
that Mallard was “able to sustain the mental demands associated
with carrying out simple tasks over the course of routine
workday/workweek within acceptable attention, persistence, pace
tolerances.” Id. at 16. Dr. Diaz also determined that Mallard
is “able to sustain the basic demands associated with relating
adequately with supervisors/co-workers,” but is “[u]nable to
interact appropriately with the general public.” Id.

Cc. The Hearing and Findings of the Hearing Officer

1. The Hearing

Mallard appeared and testified at the hearing, identifying
his impairments as bipolar disorder, post-traumatic stress,
depression, anxiety, lower back pain, and a right hip fracture.
Tr. Oral Hr’g 13-14. Mallard testified that he has experienced
only minimal improvement of his lower back pain with treatment.
Id. at 16. He also rated his lower back pain as a level six or
seven out of ten in severity, where one indicates no pain at all

while ten indicates full severity. Id. at 16-17. Mallard

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described ongoing right hip pain, though not as painful as his
lower back pain. Id. at 18. Regarding his mental symptoms,
Mallard described experiencing panic attacks two or three times
a week where his heart races and he feels uneasy and unsteady.
Id. at 25-27. He also acknowledged self-isolation in which he
would close the shade and stay alone in his room, feeling
hopeless. Id. at 29. Mallard testified that he experiences
flashbacks of a time when he sustained a gunshot wound to his
abdomen. Id. at 30. He also claimed auditory hallucinations.
Id. at 31-32.

The vocational expert, Mr. Michael Laraia, was also present
at the hearing. Id. at 3. Mr. Laraia testified that an
individual with Mallard’s age, education, work experience, and
residual functional capacity would be able to perform the
requirements of light unskilled occupations such as a machine
operator (Dictionary of Occupation Titles (“DOT”) # 741.685-
010), a packager (DOT # 920.687-018) or a cleaner (DOT #
323.687-014). Id. at 39-40; Hearing Decision 17. He also
stated, in response to a hypothetical question from Mallard’s
counsel regarding an individual of Mallard’s age, education, and
work history who is “unable to maintain concentration and
attention over an eight-hour work period such that this person
would be off work task for 20% or more of the eight-hour work

period” and is “likely be absent from work two or more days per

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month,” that such an individual cannot perform any kind of
employment. Tr. Oral Hr’g 40-41.
2. Findings of the Hearing Officer

In making factual findings and reaching his conclusion, the
hearing officer followed the five-step sequential disability
determination process. Hearing Decision 2-3. The hearing
officer found, under step one of the sequential evaluation
process, 20 C.F.R. § 404.1520(b), that Mallard “has not engaged
in any substantial gainful activity since July 23, 2015, the
alleged onset date” of his disability. Hearing Decision 3
(citing 20 C.F.R. §§ 404.1571-404.1576).

Second, the hearing officer found that Mallard suffered
from the following severe impairments: lower back pain; right
acetabular facture treated via manipulation; bipolar disorder;
depression; anxiety; and posttraumatic stress disorder. Id.
(citing 20 C.F.R. § 404.1520(c)).

Third, the hearing officer found that Mallard did not have
an impairment equal in severity to those listed in section 404,
Subpart P, Appendix 1 of chapter 20 of the Code of Federal
Regulations. Id. at 4 (citing 20 C.F.R. §§ 404.1520(d),
404.1525, 404.1526).

Fourth, the hearing officer found that “[t]Jhe claimant is
unable to perform any past relevant work,” including past

relevant medium skilled work as a sign installer and light

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semiskilled work as security guard. Id. at 16 (citing 20 C.F.R.
§ 404.1565). The hearing officer made no findings as to whether
Mallard has any transferable skills. The hearing officer
determined that “[{t]ransferability of job skills is not material
to the determination of disability because using the Medical-
Vocational Rules as a framework supports a finding that the
claimant is ‘not disabled,’ whether or not the claimant has
transferable job skills.” Id. (citing Soc. Sec. Rul. No. 82-41,
1982 WL 31389 (Soc. Sec. Admin. Jan. 1, 1982); 20 C.F.R. § 404
Subpart P. App. 2).

Fifth, and most important for the subsequent analysis, the
hearing officer found that “the claimant is capable of making a
successful adjustment to other work that exists in significant
numbers in the national economy.” Id. at 17. Relying on the
vocational expert’s testimony, the hearing officer found that
“there are jobs that exist in significant numbers in the
national economy that the claimant can perform.” Id. (citing 20
C.F.R. § 404.1569(a)). Accordingly, the hearing officer found
that Mallard was “not disabled.” Id. at 18.

II. ANALYSIS

The question before the Court is whether the Commissioner’s
final decision to deny Mallard disability benefits is supported
by substantial evidence. This question hinges on whether

substantial evidence supports the hearing officer’s conclusion

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at step five of the sequential evaluation that Mallard could
perform a range of unskilled work despite his mental
impairments. Def.’s Mem. 1; Pl.’s Mem. 1; see 20 C.F.R. §

404.1520 (a) (4) (v); Purdy v. Berryhill, 887 F.3d 7, 13 (lst Cir.
2018).

A. Standard of Review

Under the Social Security Act, this Court “has the ‘power
to enter, upon the pleadings and transcript of the record, a
judgment affirming, modifying, or reversing the decision of the
Commissioner of Social Security, with or without remanding the
cause for a rehearing.’” Martin v. Colvin, No. 12-12345-DPW,
2014 WL 309370, at *9 (D. Mass. Jan. 16, 2014) (Woodlock, J.)
(quoting 42 U.S.C. § 405(g)). This Court “review[s] the
Commissioner’s underlying decision for substantial evidence and
conformity to relevant law.” Purdy, 887 F.3d at 13 (citing

Seavey v. Barnhart, 276 F.3d 1, 9 (1st Cir. 2001)); see also

 

Ward v. Commissioner of Soc. Sec., 211 F.3d 652, 655 (1st Cir.
2000). “Questions of law, to the extent that they are at issue
in this appeal, are reviewed de novo.” Wilson v. Astrue, No.
08-40228-FDS, 2010 WL 1379889, at *3 (D. Mass. Mar. 30, 2010)
(Saylor, J.) (citing Seavey, 276 F.3d at 9).

“The [hearing officer’s] findings of fact are conclusive
when supported by substantial evidence, 42 U.S.C. § 405(g), but

are not conclusive when supported by ignoring evidence,

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misapplying the law, or judging matters entrusted to experts.”
Nguyen v. Chater, 172 F.3d 31, 35 (lst Cir. 1999) (citing Da
Rosa v. Secretary of Health & Human Servs., 803 F.2d 24, 26 (1st
Cir. 1986) (per curiam)). “Substantial evidence is ‘more than a
mere scintilla,’ and means only ‘such relevant evidence as a
reasonable mind might accept as adequate to support a

conclusion.’” Biestek v. Berryhill, 139 S. Ct. 1148, 1154

 

(2019) (quoting Consolidated Edison Co. v. NLRB, 305 U.S. 197,

 

229 (1938)). The evidentiary threshold is not high for the
“substantial evidence” standard, and is less stringent than the
“clearly erroneous” standard that the appellate courts use to

review district courts’ fact-finding. Dickinson v. Zurko, 527

 

U.S. 150, 162 (1999). “{T]hough certainly ‘more than a
scintilla’ of evidence is required to meet the benchmark, a
preponderance of evidence is not.” Purdy, 887 F.3d at 13. This
Court “must affirm [the Commissioner's decision], even if the
record could justify a different conclusion, so long as it is
supported by substantial evidence.” Rodriguez Pagan v.
Secretary of Health & Human Servs., 819 F.2d 1, 3 (lst Cir.
1987).

It is within the province of the Commissioner ~~ not this
Court -- to resolve conflicts in the evidence, make credibility
determinations, draw permissible factual inferences, and

ultimately determine the question of disability. See Purdy, 887

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F.3d at 13 (quoting Rodriguez v. Secretary of Health & Human
Servs., 647 F.2d 218, 222 (lst Cir. 1981) (per curiam)); Cameron
v. Berryhill, 356 F. Supp. 3d 186, 191-92 (D. Mass. 2019)
(citing Ortiz v. Secretary of Health & Human Servs., 955 F.2d
765, 769 (lst Cir. 1991) (per curiam)); Caney v. Astrue, No. 11-
30245-KPN, 2012 WL 3151245, at *1 (D. Mass. Aug. 1, 2012)
(Neiman, M.J.) (citing Rodriguez, 647 F.2d at 222).

This Court must rely on the hearing officer’s reasoning and
factual findings when reviewing his decision instead of any post

hoc rationalizations. See Polanco-Quinones v. Astrue, 477 Fed.

 

Appx. 745, 746 (lst Cir. 2012) (per curiam) (concluding that
court may not affirm agency action based on grounds other than
those offered by agency); Wilson, 2010 WL 1379889, at *7 (“Long-
standing principles of administrative law require us to review
the [hearing officer’s] decision based on the reasoning and
factual findings offered by the [hearing officer] -- not post
hoc rationalizations that attempt to intuit what the adjudicator
may have been thinking.”) (quoting Bray v. Commissioner of Soc.
Sec. Admin., 554 F.3d 1219, 1228 (9th Cir. 2009). Accordingly,
this Court considers the Commissioner’s arguments only to the
extent that the hearing officer’s decision reflects that

reasoning.

B. Statutory and Regulatory Framework

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“An individual is not entitled to [Social Security
disability insurance benefits] unless he or she is ‘disabled’
within the meaning of the Social Security Act.” Wilson, 2010 WL
1379889, at *3 (citing 42 U.S.C. §§ 423 (a) (1) (A)-(d)).
“Disability” is the “inability to engage in any substantial
gainful activity by reason of any medically determinable
physical or mental impairment which can be expected to result in
death or which has lasted or can be expected to last fora
continuous period of not less than 12 months.” Id. (citing 42
U.S.C. §§ 423(d) (1) (A), 1382c(a)(3)(A)). “The impairment must
be severe enough to prevent [claimant] from performing not only
past work, but any substantial gainful work existing in the
national economy.” Id. (citing 42 U.S.C. §& 423(d) (2) (A); 20
C.F.R. § 404.1560(c) (1)).

The Commissioner uses a sequential five-step evaluation
process to determine whether a claimant is “disabled” within the
meaning of the Social Security Act. Cameron, 356 F. Supp. 3d at
192 (citing 20 C.F.R. § 404.1520(a)(4)). These five steps are:

1) if the applicant is engaged in substantial gainful

work activity, the application is denied; 2) if the

applicant does not have, or has not had within the

relevant time period, a severe impairment or

combination of impairments, the application is denied;

3) if the impairment meets the conditions for one of

the ‘listed’ impairments in the Social Security

regulations, then the application is granted; 4) if

the applicant's ‘residual functional capacity’ is such

that he or she can still perform past relevant work,
then the application is denied; 5) if the applicant,

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given his or her residual functional capacity,

education, work experience, and age, is unable to do

any other work, the application is granted.
Seavey, 276 F.3d at 5; see also 20 C.F.R. § 404.1520(a) (4).
“*The [claimant] has the burden of production and proof at the
first four steps of the process,’ and the burden shifts to the
Commissioner at step five to ‘com[e] forward with evidence of
specific jobs in the national economy that the applicant can
still perform.’” Wilson, 2010 WL 1379889, at *4 (alteration in
original) (quoting Freeman v. Barnhart, 274 F.3d 606, 608 (ist
Cir. 2001)).

Cc. Mallard’s Arguments

Mallard asks this Court to reverse the Commissioner’s
denial of disability benefits for five reasons, all of which
relate to evidence of his mental health conditions. First, he
argues that the hearing officer failed to consider important
medical evidence regarding his mental health. Pl.’s Mem. 7.
Second, Mallard argues that the hearing officer failed fully to
discuss and to consider the vocational expert’s testimony. Id.
at 11. Third, Mallard argues that the hearing officer accorded
improper weight to his non-treating physicians while failing to
accord proper weight to the opinion of his treating physician.
Id. at 8-10. Fourth, Mallard argues that the hearing officer
failed properly to credit his personal testimony. Id. at 8-9.

Finally, Mallard argues that the hearing officer failed to take

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into consideration his treating physicians’ medical evaluations
regarding commuting challenges. Id. at 10. This memorandum
addresses each of these claims in turn.

1. Failure to Consider Important Evidence of
Claimant’s Mental Health Conditions

Mallard contends that the hearing officer erred by
completely ignoring record evidence, especially his
deteriorating mental health condition following the work
accident on July 23, 2015. Pl.’s Mem. 7. Specifically, Mallard
argues that the hearing officer ignored the fact that he was
hospitalized in Arbour Hospital in November 2015, and that he
experienced paranoia, hallucinations, depression, anxiety, and
post-traumatic stress disorder, as reflected in Notes from May
16, August 8, and October 3, 2016. Id. This argument lacks
merit.

A Social Security hearing officer must consider the
totality of the medical record, including the opinion of every
medical source. 20 C.F.R. § 404.1527(c) (“Regardless of its
source, [the hearing officer] will evaluate every medical
opinion [he or she] receive[s].”); see also Soc. Sec. Rul. No.
96-5p, 1996 WL 374183, at *1 (Soc. Sec. Admin. Jul. 2, 1996)
(“[O]pinions from any medical source about issues reserved to
the Commissioner must never be ignored... .”). The hearing

officer must expressly provide good reasons for rejecting or

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discounting the opinions of any source. See Johnson v. Astrue,

 

338 Fed. Appx. 3, 6-8 (lst Cir. 2009) (per curiam) (holding that
the hearing officer failed to provide good cause in discounting
treating physician’s opinion and claimant’s testimony); Lauxman
v. Astrue, 321 Fed. Appx. 766, 769 (10th Cir. 2009) (citing
Doyal v. Barnhart, 331 F.3d 758, 764 (10th Cir. 2003)).
Nonetheless, “[w]hen the [hearing officer] does not need to
reject or weigh evidence unfavorably in order to determine a
claimant’s [residual functional capacity], the need for express
analysis is weakened.” Lauxman, 321 Fed. Appx. at 769 (citing

Howard v. Barnhart, 379 F.3d 945, 947 (10th Cir. 2004)); see

 

also Maxwell v. Astrue, 268 Fed. Appx. 807, 811 (10th Cir. 2008)

 

(holding that the hearing officer did not err in not explicitly

discussing what weight he gave to the medical evidence where he

neither rejected nor treated unfavorably that medical evidence) .?

 

2 The First Circuit has not provided relevant guidance on
the need for explicit discussion of evidence that the hearing
officer neither rejects nor treats unfavorably, although the
First Circuit did point out that “[the hearing officer] is not
required to expressly refer to each document in the record,”
Rodriguez v. Secretary of Health & Human Servs., 915 F.2d 1557,
1990 WL 152336, at *1 (1st Cir. 1990) (per curiam) (table).
This Court follows the jurisprudence of the Tenth Circuit in
this regard for its persuasiveness and consistency. See Akers
v. Colvin, 556 Fed. Appx. 754, 758 (10th Cir. 2014); Wilson v.
Colvin, 541 Fed. Appx. 869, 872 (10th Cir. 2013); Shiplett v.
Astrue, 456 Fed. Appx. 730, 734 (10th Cir. 2012); Leach v.
Astrue, 470 Fed. Appx. 701, 704 n.1 (10th Cir. 2012).

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In Lauxman, the plaintiff sought judicial review of the
Commissioner’s decision denying his application for disability
insurance benefits and supplemental security income. 321 Fed.
Appx. at 768. Specifically, the plaintiff in Lauxman contended
that the hearing officer “improperly evaluated the opinion of
her non-treating, consultative physician.” Id. The court
disputed the plaintiff’s assumption that the hearing officer
rejected the non-treating physician’s opinion, and concluded
that where “the [hearing officer] neither rejected [the
doctor’s] opinion nor treated it unfavorably, there was no need
to provide specific reasons for doing so.” Id. at 769.

The heart of Mallard’s argument here is that the hearing
officer failed properly to evaluate important medical evidence
regarding his mental impairments, particularly the evidence that
Mallard was admitted to Arbor Hospital on November 17, 2015, and
medical notes from May 16, August 8, and October 3, 2016. As in
Lauxman, here the hearing officer neither rejected nor weighed
unfavorably these sources of medical evidence. Here, the
hearing officer recognized Mallard’s deteriorating mental health
condition following the work accident on July 23, 2015, Hearing
Decision 15, although he based his findings on the assessments
of Drs. Warren and Diaz. Id. Both of these sources had
considered the hospitalization record from Arbour Hospital. See

Disability Determination Explanation DIB 4-5; Disability

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Determination Explanation 3. It thus cannot be said that the
hearing officer completely failed to consider this evidence.

Both Drs. Warren and Diaz found that Mallard suffered from
post-traumatic stress disorder symptoms, irritability, paranoia,
and auditory hallucinations. Hearing Decision 15; Disability
Determination Explanation DIB 7; Ex. 3A, Disability
Determination Explanation 17. These findings were consistent
with Nurse Practitioner Crystal White’s evaluation notes from
May 16, 2016, Administrative R., Ex. 27F, Office Treatment
Records 28-29, ECF No. 19-15, evaluation notes from August 8,
2016, id. at 47, and evaluation notes from October 3, 2016, id.
at 58-59. These evaluation notes documented that Mallard had
ongoing symptoms of “paranoia, hallucinations, depression,
anxiety and PTSD.” Id. at 28-29; see also id. at 47, 58-59.

Accordingly, because the hearing officer neither rejected
nor treated unfavorably the medical evidence regarding Mallard’s
hospitalization, he did not err in failing to provide specific
reasons for its exclusion from his analysis.

2. Failure Fully to Consider Vocational Expert’s
Testimony

Mallard contends that the hearing officer failed fully to
discuss or to consider the testimony of the vocational expert,
Mr. Laraia, by failing to discuss the estimated inability to

work 20% of each day and two unexcused absences per month.

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Pl.’s Mem. 11; Tr. Oral Hr’g 41. Mallard’s argument lacks
merit.

On a claim for Social Security disability benefits, the
Commissioner may, by applying the Medical Vocational Guidelines
or by adducing testimony from a vocational expert, make the step
five determination whether there exist significant numbers of
jobs in the national economy that claimant can perform. Vazquez
v. Secretary of Health & Human Servs., 29 F.3d 619, 1994 WL
285769 (1st Cir. 1994) (per curiam) (table) (upholding the
hearing officer’s decision in making the step five determination
by using the vocational expert’s testimony and the Medical
Vocational Guidelines). In order for a vocational expert's
testimony to constitute substantial evidence, the vocational
expert’s assumptions must be supported by substantial evidence
in the record. Garay v. Secretary of Health & Human Servs., 46
F.3d 1114, 1995 WL 54077 (1st Cir. 1995) (per curiam) (table).

In Caney, the plaintiff alleged that the Commissioner’s
decision to deny him Social Security disability insurance
benefits was error because the hearing officer disregarded the
hypothetical question posed by his counsel. 2012 WL 3151245, at
*4, Specifically, the plaintiff’s counsel inquired about the
“employment opportunities available to an individual who
‘appear[s] to be off-task at least 25 percent of the workday.’”

Id. (alteration in original). Because the hearing officer found

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the hypothetical question unsupported by the record, the hearing
officer did not adopt those limitations posed by the plaintiff’s
counsel. Id. The court, ruling that those limitations were
unsupported by substantial evidence in the record, upheld the
hearing officer’s decision. Id.

The essence of Mallard’s argument is that the hearing
officer failed fully to consider and to address his counsel’s
hypothetical question regarding the potential for him to be “off
work task for 20% or more of the eight-hour work period” and
“absent from work for two or more days per month.” Tr. Oral
Hr’g 41; Pl.’s Mem. 11. A close examination of the medical
record, however, does not support those hypothetical questions
raised by plaintiff's counsel during the vocational expert’s
testimony. The medical record contains no evidence as to the
amount of time Mallard potentially would be unable to work due
to either his mental impairments or his physical impairments.
See Caney, 2012 WL 3151245, at *4 (rejecting claimant’s argument
that the hearing officer improperly disregarded the limitations
proposed by claimant’s counsel because no evidence in the

medical record supported those limitations). Accordingly, this

argument is unpersuasive.

3. Failure to Accord Proper Weight to the Treating
and Non-treating Source Medical Evidence

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Mallard’s argument regarding the treating source medical
opinion is inherently related to his argument regarding the non-
treating source medical opinion. In essence, Mallard focuses
his challenge on the relative weights that the hearing officer
accorded to each source.

a) Non-treating Medical Opinion

Mallard argues that the hearing officer erred in according
great weight to the assessments of Drs. Warren and Diaz on the
grounds that these assessments “[we]re conducted in an academic
vacuum where real world exigencies [we]re not evaluated or taken
into consideration.” Pl.’s Mem. 9-10. Mallard’s argument lacks
merit.

“Tt is within the [Commissioner’s] domain to give greater
weight to the testimony and reports of medical experts who are
commissioned by the [Commissioner].” Keating v. Secretary of

Health & Human Servs., 848 F.2d 271, 275 n.1 (lst Cir. 1988)

 

(per curiam) (citing Lizotte v. Secretary of Health & Human
Servs., 654 F.2d 127, 130 (1st Cir. 1981)); see also Crowe v.
Saul, No. 18-10490-JCB, 2019 WL 4071979, at *8 (D. Mass. Aug.
29, 2019) (Boal, M.J.) (citing Soc. Sec. Rul. No. 96-6p, 1996 WL
374180, at *3 (Soc. Sec. Admin. Jul. 2, 1996)) (“In appropriate
circumstances, opinions from State agency medical and
psychological consultants and other program physicians and

psychologists may be entitled to greater weight than the

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opinions of treating or examining sources.”). “The opinions of
‘non-treating, non-examining sources may override treating
doctor opinions, provided there is support for the result in the
record.’” Harding v. Colvin, No. 12-11437-DJC, 2015 WL 8082386,
at *11 (D. Mass. Dec. 7, 2015) (Casper, J.) (quoting Hill v.
Colvin, No. 13-cv-11497-DJC, 2015 WL 132656, at *9 (D. Mass.
Jan. 9, 2015) (Casper, J.)).

In Davila v. Berryhill, the plaintiff appealed a final
decision by the Commissioner denying his application for
disability insurance benefits. No. 17-cv-12212-ADB, 2018 WL
6499862, at *1 (D. Mass. Dec. 11, 2018) (Burroughs, J.). He
challenged the hearing officer’s decision to give the treating
physician's opinion less weight than the non-treating
physician’s opinion. Id. In his decision, the hearing officer
made reference to and examined the claimant’s daily activities,
and explained how those daily activities conflicted with the
treating physician’s opinion. Id. at *2, The court then held
that because “[the hearing officer] provided good reasons for
the little weight he gave the treating physicians’ opinions, and
the significant weight he placed on the state medical
consultants’ opinions,” there was no reversible error. Id. at
*1-2.

As in Davila where the hearing officer provided good

reasons for according great weight to state-commissioned medical

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consultants’ opinions, here the hearing officer offered good
reasons for allocating great weight to the assessments of Drs.
Warren and Diaz, noting that “(t]heir assessments allow for the
claimant’s PTSD symptoms, irritability, paranoia, and auditory
hallucinations by limiting his contact with the general public.”
Hearing Decision 15. The hearing officer further noted that the
findings of Drs. Warren and Diaz “are consistent with the record
as a whole” -- for example, consistent with medication
Management notes of Crystal White which documented findings of
“impaired memory and concentration with complaints of racing and
paranoid thoughts.” Id.

Given that substantial evidence supports the decision to
accord great weight to Dr. Warren’s and Dr. Diaz’s assessments,
Mallard’s argument here falls short.

b) Treating Source Medical Opinion

It is here the Commissioner’s decision comes a cropper.
Mallard argues that the hearing officer improperly discounted
the opinions of Dr. Daniels, Mallard’s treating physician.

Pl.’s Mem. 8; Compl. 3. The hearing officer discounted Dr.
Daniels’ opinions merely by stating that Dr. Daniels “does not
meaningfully address the claimant specific functional [sic] and
does not establish disability within the meaning of the Social

Security Administration’s regulations.” Hearing Decision 15.

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This is an insufficient rationale for discounting the opinions
of Mallard’s long-time treating physician.

Mallard applied for benefits prior to March 27, 2017, when
the Social Security Administration’s rule altering the standard
for evaluating treating source opinions became effective. 82
Fed. Reg. 5,844 (Jan. 18, 2017). Therefore, this Court
considers Mallard’s challenge under the former standard. See
id.; 20 C.F.R. § 404.1527 (“For claims filed (see $ 404.614)
before March 27, 2017, the rules in this section [containing the
treating physician rule in § 404.1527(c)(2)] apply. For claims
filed on or after March 27, 2017, the rules in § 404.1520c
apply.”); Castején v. Commissioner of Soc. Sec., No. 17-2386-
BJM, 2019 WL 4017364, at *8 n.6 (D.P.R. Aug. 26, 2019)
(recognizing that former treating physician rule applies as
plaintiff filed for Social Security benefits before March 27,
2017).

Under § 404.1527(c) (2), a hearing officer must “‘always
give good reasons’ for the weight [he] gives a treating source

opinion.” Soto-Cedefio v. Astrue, 380 Fed. Appx. 1, 1 (lst Cir.

 

2010) (per curiam) (citing 20 C.F.R. § 404.1527 (d) (2)).
“Generally, a treating source's opinion on the nature or
severity of impairments is given controlling weight.” McNelley
v. Colvin, No. 15-1871, 2016 WL 2941714, at *1 (lst Cir. Apr.

28, 2016) (citing 20 C.F.R. §$ 404.1527(c) (2)); see also Leahy v.

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Raytheon Co., 315 F.3d 11, 20 (lst Cir. 2002) (“The treating
physician rule . . . requires that the [hearing officer] weigh
more heavily the opinions of the claimant’s treating physicians
in determining his or her eligibility for benefits.”); Soc. Sec.
Rul. No. 96-2p, 1996 WL 374188, at *1 (Soc. Sec. Admin. Jul. 2,
1996). Where a treating physician’s opinion is not supported by
progress notes or clinical or laboratory findings, however, it

is not entitled to controlling weight. Ramos v. Barnhart, 119

 

Fed. Appx. 295, 296 (1st Cir. 2005) (per curiam). The hearing
officer “may reject a treating physician's opinion as
controlling if it is inconsistent with other substantial
evidence in the record, even if that evidence consists of
reports from non-treating doctors.” Castro v. Barnhart, 198 F.
Supp. 2d 47, 54 (D. Mass. 2002) (Swartwood, M.J.) (citing
Rosario v. Apfel, 85 F. Supp. 2d 62, 67 (D. Mass. 2000) (Ponsor,
J.)).

In determining not to accord controlling weight to a
treating physician’s opinion, a hearing officer must do more
than state conclusions, and must provide specific reasons for
doing so. Soc. Sec. Rul. No. 96-2p, 1996 WL 374188, at *5; see
Morales v Commissioner of Soc. Sec., 2 Fed. Appx. 34, 36 (1st
Cir. 2001) (per curiam) (holding that hearing officer provided
sufficient reasoning for not according controlling weight to

treating physician’s opinion where the hearing officer cited and

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analyzed conflicting medical evidences in the record); accord
Garrison v. Colvin, 759 F.3d 995, 1012 (9th Cir. 2014); Cain v.
Commissioner of Soc. Sec. Admin., 777 Fed. Appx. 408, 409 (11th
Cir. 2019) (per curiam) (concluding that hearing officer must
state with particularity and clearly articulate good cause for
discrediting a treating physician’s opinion). “[A hearing
officer] can satisfy the ‘substantial evidence’ requirement by
setting out a detailed and thorough summary of the facts and
conflicting clinical evidence, stating his interpretation
thereof, and making findings.” Garrison, 759 F.3d at 1012
(citation omitted). In contrast, a hearing officer errs in
rejecting the treating physician’s opinion where he provides no
reasoning or explanation for his conclusion. Polanco-Quinones,

477 Fed. Appx. at 746; see also Garrison, 759 F.3d at 1012-13

 

(holding that “a [hearing officer] errs when he rejects a
medical opinion or assigns it little weight while doing nothing
more than ignoring it, asserting without explanation that
another medical opinion is more persuasive, or criticizing it
with boilerplate language that fails to offer a substantive
basis for his conclusion”).

A treating physician’s failure to assess a claimant’s
specific functional limitations is a good reason to discount

that opinion. See Grover v. Colvin, No. 2:15-cv-204-JHR, 2016

 

WL 183645, at *9 (D. Me. Jan. 14, 2016); Fothergill v. Colvin,

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No. 2:15-cv-143-JHR, 2016 WL 183643, at *4 (D. Me. Jan. 13,
2016) (concluding that the hearing officer supplied good reasons
for rejecting treating a physician’s opinion on the ground that
the opinion failed to identify any specific functional

limitations); Thompson v. Colvin, No. 5:13-cv-275, 2014 WL

 

7140575, at *9 (D. Vt. Jan. 13, 2016) (concluding that hearing
officer gave good reason for according little weight to treating
physician’s opinion because of failure to include any specific
functional limitations).

That said, though the hearing officer claimed that he
accorded less weight to Dr. Daniels’ evaluation on the ground
that the doctor failed meaningfully to address Mallard’s
specific functional limitations, the hearing officer did no more
than simply state his conclusion. See Hearing Decision 15. The
hearing officer did not interpret Dr. Daniels’ opinion nor did
he cite any medical evidence or opinion with which it conflicted
-- far short of meeting the standard in Morales, 759 F.3d at
1012 (concluding that hearing officer provided adequate reason
for not giving controlling weight to treating physician when
hearing officer cited and analyzed conflicting medical
evidence).

Accordingly, the Court rules the hearing officer erred in
discounting Dr. Daniels’ opinion without clearly and

articulately providing good reasons for doing so, and this error

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requires remand. See Cain, 777 Fed. Appx. at 409 (holding that
hearing officer committed reversible error by failing to state
with particularity good cause for discrediting treating
physician’s opinion); Walker v. Commissioner of Soc. Sec.
Admin., 911 F.3d 550, 553 (8th Cir. 2018) (holding that failure
to explain with specificity the reason for rejecting treating
physician’s opinion is reversible error).

4. Failure Properly to Credit Claimant’s Testimony

Mallard argues that the hearing officer erred in
discounting parts of his own testimony. Pl.’s Mem. 8-9. The
hearing officer explained that “[t]o the extent the claimant
testified to limitations greater than I have found, I find that
testimony not consistent with the medical treatment record and
other evidence above.” Hearing Decision 15. Mallard’s argument
is compelling because the hearing officer’s bald conclusion
fails to provide any supporting reasoning.

“Credibility is for [the hearing officer] to judge... so
long as his determination is supported by substantial evidence.”
Foley v. Astrue, No. 09-10864-RGS, 2010 WL 2507773, at *7 (D.
Mass. June 17, 2010) (Stearns, J.) (citing Acevedo Ramirez v.
Secretary of Health, Educ. & Welfare, 550 F.2d 1286, 1286 (1st
Cir. 1977)); see also Buckley v. Berryhill, No. 1:16-cv-10562-
GAO, 2017 WL 3207059, at *3 (D. Mass. Jul. 28, 2017) (O'Toole,

J.) (“[D]eciding issues of credibility is the ‘prime

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responsibility’ of the [hearing officer].” (quoting Rodriguez v.
Celebrezze, 349 F.2d 494, 496 (lst Cir. 1965))). The hearing
officer “is entitled to disbelieve subjective complaints of
disabling pain in the face of contrary medical evidence.”
Tetreault v. Astrue, 865 F. Supp. 2d 116, 126 (D. Mass. 2012)
(Wolf, J.) (citing Avery v. Secretary of Health & Human Servs.,
797 F.2d 19, 21 (lst Cir. 1986)).

The hearing officer provides clear reasons for discounting
a claimant’s testimony where the hearing officer examines the
objective medical evidence that does not support the claimant’s
testimony, the inconsistencies between the claimant’s testimony
and medical opinions in the record, and the inconsistencies
between the claimant’s alleged symptoms and reported daily
activities. See Poissant v. Barnhart, 74 Fed. Appx. 72, 72 (1st
Cir. 2003) (per curiam) (holding that hearing officer’s finding
of discrepancies between the claimant's testimony and the
objective medical evidence supports the hearing officer’s
conclusion that the claimant was not entirely credible); see
also George Vv. Berryhill, 727 Fed. Appx. 287, 290 (9th Cir.

2018) (mem.); compare Tetreault, 865 F. Supp. 2d at 126 (holding

 

that hearing officer properly discredited claimant’s testimony
where the hearing officer explained specific factors damaging
claimant’s creditability), with Kosirog v. Berryhill, 354 F.

Supp. 3d 835, 845 (M.D. Tenn. 2019) (Young, J.) (holding that

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hearing officer failed properly to evaluate claimant’s testimony
where the hearing officer only summarized the evidence in the
record without explaining how the evidence contradicted
claimant’s symptoms).

Unlike the hearing officer in Tetreault, who not only
summarized the medical evidence that conflicted with claimant’s
testimony but also provided and explained specific factors
damaging claimant’s creditability, here the hearing officer did
nothing more than summarize the medical evidence in the record
without explaining how it contradicted Mallard’s testimony.
Hearing Decision 15-16. Although his summary is comprehensive
and detailed, he did not explain his reasoning -- why the
evidence contradicts Mallard’s testimony. See Kosirog, 354 F.
Supp. 3d at 845 (holding that “[t]he hearing officer should have
identified specific medical evidence and non-medical facts to
demonstrate inconsistencies in [the claimant’s] testimony”).
Such a failure warrants remand. See id. at 845 (holding that
failure properly to evaluate claimant’s testimony warrants

remand).

5, Failure to Consider the Medical Evaluation
Regarding Mallards’s Commuting Difficulty

Mallard argues that the hearing officer failed to consider
Mallard’s commuting difficulty associated with his mental

impairments. Pl.’s Mem. 9-10; Compl. 3. Mallard argues that

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with routine stress, “[c]ommuting to work is, by its very
nature, stressful.” Pl.’s Mem. 10; Administrative R., Ex. 16F,
Impairment Questionnaire 2, ECF No. 19-10. This is a compelling
argument.

“Congress, tightening the definition of disability,
eliminated consideration of travel difficulties when those
difficulties were extrinsic to the claimed disability ... .”
Lopez Diaz v. Secretary of Health, Educ. & Welfare, 585 F.2d
1137, 1140-42 (lst Cir. 1978) (citing Lafont v. Secretary of

Health, Educ. & Welfare, 363 F. Supp. 443, 444 (E.D. La. 1973)).

 

When considering whether a disability would cause commuting
difficulties to an extent that would prevent a claimant from
employment in the national economy, a hearing officer must
consider “a hypothetical claimant, suffering from the same
standing and walking impairments as this claimant, whose place
of residence is unknown but reasonably close to the worksite,
and who is free to choose a suitable form of conveyance from
among the different means of transportation, public or private,
that are normally available to the national population in
travelling to and from work.” Id. at 1142. If the hypothetical
claimant’s disabilities “would not in and of themselves prevent
him or her from traveling by some normally available means of
transportation, either public or private, to work which exists

in the national economy,” a conclusion of non-disability may be

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warranted. Id. (internal quotation marks omitted). On the
contrary, if the disabilities would by themselves prevent
claimant from commuting via normally available means of
transportation, “then disability benefits are appropriate for
the actual claimant.” Id.

A close examination of the hearing officer’s decision leads
to the conclusion that he did not conduct any such inquiry.
There is no analysis whether a hypothetical claimant similarly
situated to Mallard would be precluded from commuting to work by
his or her disabilities. See Hearing Decision 1-18. No
evidence is cited to support the conclusion that Mallard,
despite the commuting difficulties caused by his mental
impairment, is able to commute to work via normal means of
transportation available to the national population. Id.
Accordingly, a lack of substantial evidence in this regard
constitutes reversible error on the part of the Commissioner.
III. CONCLUSION

For the reasons discussed above, the Court DENIED the
Commissioner’s motion to affirm the decision, ECF No. 24, and
GRANTED Mallard’s motion to reverse, ECF No. 21. The
Commissioner’s decision is VACATED and the matter is REMANDED
for further proceedings consistent with this opinion.

SO ORDERED.

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WILLIAM G. YQYNG
DISTRICT JUD

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